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                                                         Exhibit A to the Complaint
Location: Langhorne, PA                                                                             IP Address: 100.11.18.212
Total Works Infringed: 31                                                                           ISP: Verizon Fios
 Work     Hashes                                                                UTC          Site          Published     Registered   Registration
 1        Info Hash:                                                            02/20/2021   Blacked       02/20/2021    03/08/2021   PA0002280369
          B6731C228E3E77B26F2D438DA2BF25ED71A2F078                              20:01:18
          File Hash:
          34C65E0282157D32FBA0B1120805511668DA7BC92AA21D52A121AFD523D907F8
 2        Info Hash:                                                            02/14/2021   Tushy         02/14/2021    03/08/2021   PA0002280366
          A0773C60F76662953037B74165052481628E2F11                              19:58:24
          File Hash:
          1F4409E86A98263BD34267B242C67DA85F665AFF65FEBB8F925DAC4F30BE6C9B
 3        Info Hash:                                                            02/07/2021   Blacked       02/06/2021    03/08/2021   PA0002280372
          93EB9DEAF463F4AF3BD9E2D76BA391F909CCC7F2                              02:29:37
          File Hash:
          04CA4329B75F3F75ABC66A751B7820B57C4F956A749EA82616FC05382A887E9A
 4        Info Hash:                                                            02/06/2021   Vixen         02/05/2021    02/09/2021   PA0002276151
          50DC2EF036DB5594F25ED3B5455050C78A904DBA                              20:18:05
          File Hash:
          A7738C94604F818E7322174C1C3CF630607E4F042BCC1D4531FD37085D33EDF1
 5        Info Hash:                                                            02/01/2021   Tushy         01/31/2021    02/09/2021   PA0002276144
          FE1B5290193A13F3642F1D6FD536BF6E313D0FF6                              01:15:46
          File Hash:
          66FFB9A362465AB618B6925BE3B0450E0F148A32D0FAD2BF9FFE8253636584C2
 6        Info Hash:                                                            01/18/2021   Vixen         01/15/2021    02/02/2021   PA0002280500
          B643509B744AA2BC78C6F6E7A5FEADA925EDFE45                              01:50:20
          File Hash:
          77C04498ACC41BAA6DABF502F24144C4CD348922B0FCCE808CE8653AF4BC09B5
 7        Info Hash:                                                            01/18/2021   Tushy         01/17/2021    02/09/2021   PA0002276149
          E713D89DBB841FCA06E2ED2D573238E1605C5258                              01:48:49
          File Hash:
          05FE1DF9D606E6B61D5A4AF8A0BB8D7D39D61BAFDCFCE9D66898F73197D0834B
 8        Info Hash:                                                            01/17/2021   Blacked       01/16/2021    02/09/2021   PA0002276150
          59154555AF2E443B03E387EDD0E34F1BAF703A45                              04:52:29
          File Hash:
          CB9112CB07BAF880B77458D88729F588795B7810DF571C7442A04A4BE49F5EB3
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Work   Hashes                                                             UTC          Site      Published    Registered   Registration
9      Info Hash:                                                         01/10/2021   Vixen     01/08/2021   02/02/2021   PA0002280513
       04CF2901CDAEEDC6B4D011B0B8C3E65A18762337                           02:19:40
       File Hash:
       0AB77A3F0D46748F548CAE0998134F33480F2CDD519953D87B5BC127610AF68E
10     Info Hash:                                                         01/05/2021   Tushy     01/03/2021   02/02/2021   PA0002280504
       A9A25F9F09A1155DE1C3F28D27956E7119010879                           19:58:15
       File Hash:
       F5F5943927B619C69E07BAB9E1D00F57448A4616C68B807CF9E95D8D861698E6
11     Info Hash:                                                         01/05/2021   Blacked   01/02/2021   01/05/2021   PA0002269954
       592CC90904C53EF2703DB9CFE9C4184C72214506                           04:12:20
       File Hash:
       23D54B2543E07A11C8AE2914890F822A39159C9D5F9AD4C7BD1A1703C95626AB
12     Info Hash:                                                         01/02/2021   Blacked   06/14/2019   07/17/2019   PA0002188312
       6B99D7888151D0DF63F02064FA56A21363DA8C96                           01:30:13
       File Hash:
       82A7BC37315577F4D87CC9E1719E1C30EB0FA435768F3384B48E5F88AED32F20
13     Info Hash:                                                         01/02/2021   Tushy     07/15/2018   08/07/2018   PA0002132406
       6CA0412F00E59D795DC36C34E223AAE9998B767C                           01:19:20
       File Hash:
       F013EC723880DE1A6356F37ED370FC8B8C933ADC1637E79614FDA0DD290944C7
14     Info Hash:                                                         01/02/2021   Vixen     05/14/2019   07/05/2019   PA0002206408
       C542D326EE13C9860B8EE438E27E0EB12257FB94                           01:17:13
       File Hash:
       842DD7F6893D36DBF41DE757F110D74DAE4F036240C7F9E6A3008868F09FC99B
15     Info Hash:                                                         12/31/2020   Vixen     12/25/2020   02/02/2021   PA0002280511
       3C0443FF390767BA5B427401087ADB1B626BCE22                           19:49:31
       File Hash:
       E520AAE48CD901AFC55DC2F91A93F95D694D5474712E3610243878B86B759E13
16     Info Hash:                                                         12/31/2020   Vixen     07/08/2019   09/10/2019   PA0002199411
       AB6F5DDED2290838AD429C5C8048ECD822E37AFC                           19:49:26
       File Hash:
       E3929017009B2C9EFC94F419309B16346A86AAE8361D5BA626E7E98131473127
17     Info Hash:                                                         12/15/2020   Blacked   12/12/2020   01/04/2021   PA0002277035
       7A28920E7024FFAA9C9E3F2BF942D1360C852BC5                           18:03:32
       File Hash:
       5951E2FC96FBA568E67C0E89708A84798CB8F69F0AE809DC9D81226A47D677C6
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Work   Hashes                                                             UTC          Site      Published    Registered   Registration
18     Info Hash:                                                         12/15/2020   Vixen     12/11/2020   01/04/2021   PA0002277039
       39B258056BC2EB474C97D6716D53AC9549E5D86F                           18:03:26
       File Hash:
       F87F73D0A510E7794F351B7D5B4EBF593968288D9330CA29799B014AE72B954D
19     Info Hash:                                                         12/15/2020   Tushy     12/13/2020   12/28/2020   PA0002269085
       943AA6998FC6DA369AB0CB628C9DA105FF9EBDC8                           18:02:20
       File Hash:
       88AE0B3DF636AE7D6C89333A9608286713400A9C45CAC2DC41A863594B30BACD
20     Info Hash:                                                         12/07/2020   Blacked   12/05/2020   01/04/2021   PA0002277031
       3C793E25BD6E9E0908125BC83A966F3DC6D628A7                           19:42:57
       File Hash:
       8FDF7E80CC120B419212A1F8F06C979256DC90BEF9436C38FD7564C20DFC5A98
21     Info Hash:                                                         12/07/2020   Tushy     12/06/2020   12/28/2020   PA0002269080
       1194E183FFDF71459B475A921BBF2F0A91EDB324                           19:42:41
       File Hash:
       60CB587DFFECA8818C81522C75AD5A7F64C3BAB32AFF7A0F3DFE604355A7BD11
22     Info Hash:                                                         12/03/2020   Tushy     07/25/2017   08/11/2017   PA0002046870
       E1C14843DC58F3CB2CCB7383B242E4EE8D32363B                           21:04:02
       File Hash:
       B2B52FF8692BFD0B5B86AD10AFC1C974F24A7E19CA3761D99B7A306ABAEC104F
23     Info Hash:                                                         11/30/2020   Blacked   11/28/2020   12/28/2020   PA0002269083
       47EFF10A48B116CE25A44DCBB64795ADB5789D0D                           20:56:47
       File Hash:
       E9A2BD560E5A809DABA69192DD5DFA4E31D5620BC4BCFEFBD51A4A967CC8AA72
24     Info Hash:                                                         11/12/2020   Tushy     11/08/2020   12/09/2020   PA0002274932
       D95DD9DDE1D56D2652DF56DDD308A8F222104588                           21:13:47
       File Hash:
       9419A3ACB5DAD22CA7B78BB4590AED121B6A4B27D5B5F8012EBB0CC61B065CFF
25     Info Hash:                                                         11/09/2020   Blacked   03/01/2019   03/31/2019   PA0002163976
       EAB3533FB381C799B59AAA64A20DF16CE3C18A18                           19:58:52
       File Hash:
       8EACC9C021727EBBEF8D7686F98200CCE8C26D84CE88A7D7D44DD10C0794D8E8
26     Info Hash:                                                         11/07/2020   Vixen     11/06/2020   12/09/2020   PA0002274936
       AEA7918FD1B713FD99E2F97CFFC399F016CF59E9                           19:35:37
       File Hash:
       C9FABD456B6F378F280307BFE97EEF137BEB4D2D010417C8FCDA6B7AA8548122
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Work   Hashes                                                             UTC          Site      Published    Registered   Registration
27     Info Hash:                                                         11/02/2020   Tushy     11/01/2020   11/18/2020   PA0002272627
       7EC41A2781FDD54B52A2E7B842DAADA1906D4EC9                           21:06:18
       File Hash:
       32A0FF90F847F3B19BAA4468BAA74EBCFBFCBD242633C4A5D1A3A06D5E04F827
28     Info Hash:                                                         11/01/2020   Blacked   10/31/2020   11/24/2020   PA0002265967
       FB6D45F0A6BD5E28A418EF8AC262EC06C6D4A40B                           03:16:51
       File Hash:
       EE6802769054BFB182B32EB472AE2616FD92D062D9A3A75A2EB5D4BA1B2F0661
29     Info Hash:                                                         11/01/2020   Vixen     03/09/2020   04/17/2020   PA0002246165
       6A00929B3D2F54C7FF7C31812DA1CEB6F03A8DF0                           02:19:58
       File Hash:
       E7517A6F80C556646938E7C39ABB9A3F1BB5D89FF3E3D535E96E9F527B6321A6
30     Info Hash:                                                         10/24/2020   Vixen     10/23/2020   11/18/2020   PA0002272622
       97DBC412467273A5AABCF3D26E13F83FEEEDD9BD                           02:55:42
       File Hash:
       29019A60FE2D2C71C049A0855D2ED41BFFFFE95470150CAF81DFB4D37857410E
31     Info Hash:                                                         10/18/2020   Vixen     09/18/2020   09/29/2020   PA0002258680
       3B6198833B8CF16DAE7D8E122C3AD5AD62507AAD                           21:44:06
       File Hash:
       D1F3EF62AA81DCC45B49CE454C8E234C6C5668D49212ACF906FAAFCE9AE72D1B
